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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F C()LORADO

Civil Action No:

 

JAMES S. GRADY,

Plaintiff,

V.

JEREMY LAMBERT, aka “watergod”, ET AL.
Defendant.

 

COl\/[PLAINT FOR COPYRIGHT INFRINGMENT
AND TRADEMARK INFRINGl\/IENT

 

Plaintiff James S. Grady (“Grady” or “Plaintifi”) files this complaint against Jeremy

Lamber“t (“Lambert” or “Defendant”) and alleges as follows:

I. NATURE OF THE CASE

1. This matter arises under the United States Copyright Act of 1976, as amended, 17
U.S.C §§ et seq. (the “Copyright Act”) and The Lanham Act 15 U. S. C. §§ et seq. (the
“Trademark Act”).

2. Plaintiff is the registered owner of the copyrights of a collective group of
photographs and videos from the Colorado based web publication TrueTeenBabes (hereinafter
the “Works”) that Defendant has specifically targeted for mass infringement

3. Plaintiff seeks redress for Defendant’s rampant infringement of his exclusive
rights in the Worl<s, and for injunctive relief to prevent the Defendant from continuing to infringe
upon Plaintiff’s copyrighted Works.

4. Plaintiff is the registered owner of the exclusive trademark TrueTeenBabesTM

which Defendant has wrongfully infringed, diluted and exploited on a large scale.

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5. Plaintiff seeks further redress for Defendant’s rampant infringement and dilution
of his exclusive rights in the trademark TrueTeenBabesTM, and for injunctive relief to stop
Defendant from continuing to infringe upon Plaintiff’s trademark

6. Each time Defendant unlawfully distributes a copy of Plaintiff’s copyrighted
Works to others over the Internet, each recipient can then distribute that unlawful copy of the
Works to others without degradation in quality. Thus, Defendant’s distribution of even a single
unlawful copy of the Works can result in the nearly instantaneous worldwide distribution of that
single copy to a limitless number of people. ln this case, Defendant’s copyright infringement is
directly responsible for an infinite number of downstream infringements, each of which devalues
Plaintiff’s Works, property, rights and business

7. Defendant’s actions were willful and malicious in nature, entitling Plaintiff to
enhanced damages Plaintiff seeks statutory damages, an award of his attorneys’ fees and costs of

suit, as well as injunctive relief.

II. JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction over this action pursuant to 17 U.S.C.
§§ 101, et. Seq., 28 U.S.C § 1331 and 28 U.S.C § 1338(a).
9. This Court has personal jurisdiction over Defendant who has purposefully availed

himself to this jurisdiction as he has committed unlawful and tortuous acts both within and
outside the district, and has specifically aimed his tortuous acts towards this district with full
knowledge that his acts would cause injury in this district and that the negative consequences
thereof would be felt within this district

10. Plaintiff’s claims arise out of Defendant’s unlawful and tortuous conduct, targeted
specifically at Plaintiff and Plaintiff’s business in Colorado, which gives rise to personal
jurisdiction over Defendant

ll. Defendant is party to a User Agreement that sets the terms upon which Defendant
may use Plaintiff’s website as a subscriber In said User Agreement Defendant agrees to submit
to jurisdiction in Colorado for any legal action to enforce Plaintiff’s trademarks or copyrights

See Plaintiff’s Exhibits 001 (Terms of Service) and 002 (Subscription Receipt).

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12. Venue is proper in this District pursuant to 28 U.S.C § 1391(b) as a substantial
part of the events giving rise to the claims occurred in this District or were targeted at this

District, and all of the property that is the subject of this action is situated within this District.

III. THE PARTIES
A. Plaintiff

13. Plaintiff J ames S. Grady is a resident of Colorado doing business as Group Five
Photosports and TrueTeenBabesTM, inter alia, with his principal place of business in Littleton,
Colorado. Plaintiff produces, markets and distributes premium quality entertainment products,
including wholly original Internet content, Internet websites, videos, DVDs and photographs
(hereinafter "Works").

14. Plaintiff has registered with the United States Copyright Office the Works
identified in the paragraphs below. Plaintiff has taken industry standard steps to identify his
products, including placing a copyright symbol and his Trademark on each individual
photograph, and by placing recorded copyright warnings at the beginning and end of each
individual video product A sample Certificate of Copyright Registration is attached as Plaintiffs
Exhibit 003 (United States Copyright Certificate VA 1~791-715).

15. Plaintiff’s TrueTeenB abesTM trademark has been continuously used in commerce
since at least July 2001. U.S. Trademark Registration #3,733,941. See Plaintiffs Exhibit 004
(United States Trademark Registration).

16. Plaintiff has expended considerable effort and expense in promoting the
Trademark TrueTeenBabesTM. As a result, the purchasing public has come to know, rely upon
and recognize the mark TrueTeenBabesTM as an international brand of high quality products and
entertainment

17. Plaintiff owns the exclusive worldwide rights to his extensive archive of high-
quality photographic Works, video Works and DVD Works and does not allow the Works to be

used, reproduced, sold or distributed in any form by third parties.

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18. Plaintiff has dedicated significant resources to create, distribute and protect his
Works In addition, Plaintiff dedicates resources to be in compliance with applicable laws in
order to protect the integrity of his Works

19. The viability and profitability of Plaintiff, and his Colorado based business
depend upon monies and revenue earned from Plaintiff’s intellectual property, including
copyrights in Plaintiff’s photographs films, DVDS, movies, videos and other creative Works
marketed under his TrueTeenB abesTM Trademark.

B. Defendant

20. Defendant Jeremy Lambert, who is also known by his alias’ and screennames
“watergod” and “irescueyou@gmail.com”, among others, has been identified as a supplier of
Plaintiff’s copyrighted Works to illegal photo, video and DVD trading websites, pay to view
websites, online forums clubs and groups

21. Defendant, has been using the above screennames and the email address
irescueyou@gmail.com, along with other fake identifies to become a prolific copyright violator
since at least February of 2013 and during that time has distributed more than thirty three
thousand of the Plaintiff`s Works to which he has no rights or authority.

22. Defendant competes with Plaintiff, and illegally supplies Plaintiff’s Works to
others that compete with Plaintiff, in the distribution and sale of visual Works through Internet
distribution

23. Defendant, individually and with the support and coordination of others acted
willfully, knowingly and maliciously to execute the illegal and improper acts alleged herein in a
common course or scheme to infringe on Plaintiff’s intellectual property for illegal gain, profit

and reward.

IV. STATEMENT OF FACTS
24. Plaintiff is the registered owner of each and every individual Work illegally
distributed by Defendant The United States Copyright Office registrations being violated are
noted on Plaintiff’s Exhibit 005 (List of Copyright Registrations Violated).

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25. Defendant is a prolific, and extremely malicious, copyright violator and
distributor of the Plaintiff’s Works and numerous other registered copyrights are also being
violated Plaintiff expects to amend his Complaint to include additional Certificate of
Registration numbers as investigation and discovery continue

26. T he Internet, in conjunction with recent advances in technology, has resulted in
the availability of effective means for circumventing intellectual property rights in nearly every
industry, including online entertainment The pervasive and intense online infringement is
crippling the entertainment industries by providing unfettered, unregulated, free access to
copyrighted Works originally produced by reputable businesses and persons including Plaintiff.

27. These infringers are without any accountability to governmental requirements or
regulations without any actual investment in the creation of the Works, and without any
commitment to the future of the entertainment industry Nonetheless, these infringers utilize,
display, and distribute copyrighted Works for which they have no right or proper license for their
own commercial means and other significant financial benefits Many infringers are rabid and
determined in their actions and, like Defendant here, will maliciously continue to distribute the
same materials over and over after they have been warned by the rightsholder. These actions by
Defendant have caused and continue to cause significant damage to the business and reputation
of the true rightsholder, Plaintiff, as well as to the viability and profitability of Plaintiff’s Works

28. The website TrueTeenBabes is a Colorado based online subscription publication
created, owned and managed by Plaintiff The name 'l`rue”l`eenBabesTM is a United States
Trademark registered to Plaintiff, and all content of the publication is covered by registered or
pending copyrights The publication offers a tour area and a DVD store, along with a subscriber
area that can only be accessed by payment of a subscription fee. Once that payment is made the
purchaser receives a unique username and password by email, and then the purchaser is able to
access several thousand premium quality, copyright protected, photos, videos and stories
produced by the Plaintiff. Online it is common for parties to refer to TrueTeenBabes by its
initials “TTB” or the three word term "True Teen Babes".

29. The website known as XBBS.asia (XBBS) is a pornographic website and not the
type of venue that Plaintiff would knowingly display his copyright protected Works or

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Trademark. XBBS encourages users to post, display and distribute photos they have do not have
rights too. Once posted the image is shown in a reduced sized. When the reduced size image is
clicked upon XBBS displays the full size version in the center of a web page where any person,
party or entity can download it to their own computer without compensation to the rightholder. If
the Works wrongfully posted are from a popular source, such at Plaintiffs TrueTeenBabes
publication, they are placed in a premium section that the XBBS Website requires payment to
access Users of XBBS can also post sufficient quantities and/or qualities of materials such that
the users are allowed access to the premium section of XBBS in consideration of the materials
they have posted and without monetary payment

30. In addition to that method of infringement Defendant painstakingly created and
posted numerous .rar files containing large numbers of Plaintiffs Works grouped by model
name or publication date. The .rar file format is the equivalent of a digital envelope that can
contain one or many photos or videos When a copyright violator distributes a single .rar file it
may contain a single copyright protected photo or video, or hundreds of copyright protected
photos or videos and thus a single .rar file may represent one direct violation or hundreds of
direct violations dependant on the number of photos or videos enclosed Within it, and
downstream it may represent one, or tens of thousands of direct, contributory and vicarious
violations

31. Each post of copyright protected materials to XBBS by violators such as this
Defendant, is a direct copyright infringement Each time one of those illegally posted files is
downloaded it becomes an additional direct infringement to which the original poster has
materially contributed Violators, such as this Defendant, have the right and ability to control the
infringing acts of the other individuals and the XBBS site, by simply deleting the files they had
previously uploaded, but failing to do so makes them vicariously liable for further copyright
infringement

32. Defendant registered as a XBBS user in February of 2013 and has illegally
provided them with the protected Works of Plaintiff, and other rights holders since that date.
Defendant used the email address of irescueyou@gmail.com and personally selected the login

name of “watergod” during the XBBS registration process To register at XBBS the user must

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complete an online form, affirmatively agree to certain terms and conditions and provide a
working email address to which a verification email is sent. The user must then visit that email
account, open that verification email and click a link containing a unique 24-digit code. The user
is then returned to a verification screen at the XBBS website. This series of steps confirms that
the email address is the true and correct email address of the user requesting access to the
website. T he XBBS website records and stores the user’s lP address email address and other
identifying information. Only the true and correct owner of the email address can register at
XBBS.

33. Between April 5th, 2013 and May 15th, 2013 Defendant wrongfully posted on
XBBS 33,875 of Plaintiffs works without authorization or permission Defendant posted more
than 1000 of the Works multiple times

34. Due to the actions of Defendant on XBBS, Plaintiff’s Works and Trademark have
been illegally displayed more than 45,000,000 times collectively

35. Copyright law states that any material that is “reproduced, performed, publicly
displayed, or made into a derivative work without permission” is an illegal violation of the rights
of the copyright holder. By its definition each view or download of Plaintiff’s Works as caused
by Defendant, constitutes a separate and distinct instance of infringement ln this case the
Plaintiff’s Works have been viewed, without authorization or compensation, millions of times on
one website alone, and illegally made available for download by Defendant for weeks without
permission With the enormous amount of lnternet users who viewed the Defendant’s illegal
posts and used his file sharing account, the number of uncompensated views and duplications
(downloads) grows daily thus furthering the number of copyright infringements attributed
directly to Defendant and contributing to the further dilution of Plaintiff’s Trademark.

36. Each of the 33,875 registered Works illegally shared on XBBS by Defendant was
clearly marked with the copyright symbol and Plaintiff’s Trademark TrueTeenB abesTM.

37. Defendant did not seek permission to use Plaintiff’s copyright protected Works for

any purpose

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38. Under no circumstances has Plaintiff authorized the use of his copyright protected
Works for commercial distribution by Defendant, or any website to which the Defendant acts as
a supplier, nor does Plaintiff contemplate any circumstance under which he would do so.

39. The commercial value of Plaintiff’s copyrights has been greatly diminished by
Defendant’s actions

40. Defendant did not seek permission to use Plaintiff’s Trademark for any purpose

41. Under no circumstances has Plaintiff authorized the use of Plaintiff’s Trademark
for commercial purposes of Defendant, or any website to which the Defendant acts as a supplier,
nor does Plaintiff contemplate any circumstance under which he would do so.

42. The commercial value of Plaintiff’s Trademark has been greatly diminished by
Defendant’s actions

43. Defendant’s actions have caused irreparable injury to Plaintiff’s reputation and

goodwill, as well as that of his TrueTeenB abesTM Trademark and Copyrights.

V. FIRST CAUSE OF ACTION
(Copvright Infringement 17 U.S.C. § 501)

44. Plaintiff re-alleges and incorporates by reference as if verbatim all information
contained in each paragraph above.

45. Plaintiff is the registered copyright owner of the Works infringed upon by
Defendant.

46. Among the exclusive rights granted to Plaintiff under the Copyright Act are the
exclusive rights to reproduce the Works and to distribute them. These are rights which Defendant
willfully and maliciously infringed upon.

47. Defendant without the permission or consent of Plaintiff, has used, and upon
information and belief, continues to use the internet and various web sites to reproduce and
distribute Plaintiff’s Works to the public, and/or make Plaintiff’s Works available for
reproduction and distribution to others including other web site users ln doing so Defendant

has directly violated Plaintiff’s exclusive rights of reproduction and distribution Defendant’s

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actions constitute direct infringement of Plaintiff’s Copyrights and exclusive rights under the
Copyright Act.

48. Plaintiff is informed and believes and on that basis alleges that the foregoing acts
of infringement were conducted by Defendant with willful and malicious intent.

49. As a result of Defendant’s infringement of Plaintiff’s Copyrights and exclusive
rights under the Copyright Act, Plaintiff is entitled to either actual or statutory damages pursuant
to 17 U.S.C. § 504(c), and to attorney fees pursuant to 17 U.S.C. § 505.

50. The conduct of Defendant is causing and will continue to cause Plaintiff great and
irreparable injury. Such harm will continue unless Defendant is enjoined from such conduct by
this Court. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§ 502 and 503,
Plaintiff is entitled to injunctive relief prohibiting Defendant from further infringing Plaintiff’s
Copyrights and ordering Defendant to destroy all copies of the Works made in violation of

Plaintiff’s exclusive rights under the Copyright Act.

VI. SECOND CAUSE OF ACTION
§Coutributorv Copyright Infringement)

51. Plaintiff re-alleges and incorporates by reference as if verbatim all information
contained in each paragraph above.

52. Without authorization, individuals have copied, reproduced, distributed created
derivative Works and publicly displayed Plaintiff’s Works by and through XBBS thereby
directly infringing Plaintiff’s copyrights

53. Defendant contributed to the infringing acts of those individuals and allowed
encouraged and induced those individuals to reproduce, distribute, and publicly display
Plaintiff’s Works by and through XBBS without regard to the ownership of the Works

54. Defendant designed and created his posts at XBBS with the object and intent of
promoting the infringement of Plaintiff’s Copyright protected Works As a direct and proximate
result of such inducement, individuals have infringed Plaintiff’s Copyrighted Works by

reproducing, distributing, and publicly displaying such Works

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55 . Defendant knew of the infringement, was conscious of his own infringement, and
was conscious of the fact that multiple other persons derivatively, and illegally, downloaded
Plaintiff’s Works

56. The infringement by other web site users could not have occurred but for
Defendant’s participation in sharing Plaintiff’s protected Works As such, Defendant’s
participation in the infringing activities of others is substantial

57. Defendant profited from this contributory infringement by way of being granted
access to a greater library of infringing Works on XBBS, some of which belonged to Plaintiff
and some of which belonged to other copyright holders Further, upon information and belief,
Defendant profited from this contributory infringement by receiving commissions and/or other
payments or benefits received from XBBS as one of their members and affiliates

58. Defendant’s acts of inducement to infringe were willful, malicious and in
disregard of and indifference to Plaintiff’s rights

59. The willful acts and malicious conduct of Defendant, as alleged in this Complaint,

constitute contributory copyright infringement

VII. THIRD CAUSE OF ACTION
(Vicarious Copyright Infringement)

60. Plaintiff re-alleges and incorporates by reference as if verbatim all information
contained in each paragraph above.

61. Without authorization, individuals have reproduced, distributed, created
derivative Works and publicly displayed Plaintiff’s Works by and through XBBS thereby
directly infringing Plaintiff’s copyrights

62. Defendant had the right and ability to control the infringing acts of the other
individuals that violated Plaintiff’s rights by simply deleting the posts he made to XBBS yet he
Willfully and maliciously chose not to do so.

63. Defendant received benefit from the infringing activities of others that he failed to

control when he had the right and ability to do so.

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64. The willful acts and malicious conduct of Defendant, as alleged in this Complaint,

constitute vicarious copyright infringement

VIII. F()URTH CAUSE OF ACTION
(Trademark Infringement - False Designation of Orig_ill_) y

65. Plaintiff re-alleges and incorporates by reference as if verbatim all information
contained in each paragraph above.

66. Plaintiff holds the exclusive rights to the registered Trademark TrueTeenBabesTM,
has never licensed it to outside parties nor does he contemplate any circumstance under which
he would do so.

67. Defendant’s repetitive use of the mark TiueTeenBabesTM in connection with
displaying Plaintiff’s Works constitutes a use in commerce that is likely to cause confusion and
mistake and to deceive consumers as to the source or origin of the Works displayed and
distributed by the Defendant on XBBS. Defendant’s usage tends to deceive and confuse
consumers into believing Defendant’s illegal services and postings are affiliated with Plaintiff,
are sponsored or approved of by Plaintiff, or are otherwise associated with or authorized by
Plaintiff,

68. By engaging in the activities described above Defendant has made, and is making,
false, deceptive and misleading statements constituting unfair competition, false designation of
origin, and false advertising in connection with services distributed in interstate commerce in
violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

69. Defendant engaged in this course of action willfully, maliciously and with full
knowledge and awareness of the superior Trademark rights of Plaintiff, and with the purpose and
intent of confusing the relevant trade and public into mistakenly believing that Defendant’s
services are associated with, affiliated with or licensed by Plaintiff,

70. Defendant’s acts of unfair competition and false advertising have caused and are
causing great and irreparable injury to Plaintiff and his Trademark and to the products services

and goodwill represented thereby, in an amount that cannot be ascertained at this time and,

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unless restrained, will cause further irreparable injury, leaving Plaintiff with no adequate remedy
at law.

71. Plaintiff is entitled to recover all damages sustained as a result of Defendant’s
unlawful conduct, treble that amount, costs of this action, and reasonable attorneys’ fees

72. Plaintiff is entitled to injunctive relief against Defendant, restraining further acts

of unfair competition, false designation of origin, and false advertising

IX. FIFTH CAUSE ()F ACTI()N
Q`rademark Infringement - Dilution)

73. Plaintiff re-alleges and incorporates by reference as if verbatim all information
contained in each paragraph above.

74. Plaintiff holds the exclusive rights to the registered Trademark True"l`eenBabesTM
which has become and at all times relevant has been “famous” within the meaning of 15 U. S. C.
§ 1125(c).

75 . The websites to which Defendant has wrongfully posted Plaintiff’s high-quality
Works typically intermingle them with images of poor quality or of an offensive or illegal nature,
as well as use the Works to promote the infringement of works belonging to other rightsholders.
The acts of Defendant averred herein have lessened the capacity of Plaintiff’s Trademark to
identify and distinguish Plaintiff’s services and products from those of Defendant and the
pornographic websites he promotes and/or affiliates with, have tarnished the valuable image and
reputation associated with the Trademark, and have created an undesirable, unwholesome, or
unsavory mental association with Plaintiff and the TrueTeenBabesTM Trademark, damaging
Plaintiff’s goodwill and disparaging Plaintiff’s rights in the TrueTeenBabesTM Trademark.
Defendant’s acts and conduct are in violation of 15 U. S. C. § 1125(c). Defendant willfully and
maliciously intended to trade on Plaintiff’s reputation and/or cause dilution of Plaintiffs
TrueTeenB abesTM Trademark.

76. Plaintiff is entitled to recover all damages sustained as a result of Defendant’s

unlawful conduct, treble that amount, costs of this action, and reasonable attorneys’ fees

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77. Plaintiff is entitled to injunctive relief against Defendant, restraining further acts

of Trademark infringement and dilution.

X. PLAINTIFF’S PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests
(1) T hat the Court enter a judgement declaring that Defendant has:

a. willfully infringed Plaintiff’s rights in Federally registered copyrights
under 17 U.S.C. § 501 no less than 33,875 times through his direct,
contributory and vicarious acts;

b. willfully violated Plaintiff’s registered Trademark through his false
designation of origin and Trademark dilution acts;

c. otherwise injured the personal and business reputation of Plaintiff by his
acts and conduct as set forth in this Complaint;

(2) That the Court issue an injunction providing that:

Defendant shall hereby be enjoined from directly or indirectly
infringing upon the copyrights in these Works or any other Works whether
now in existence or later created, that are owned or controlled by Plaintiff (or
any parent, subsidiary, or affiliate of Plaintiff), including without limitation by
using the Internet or any online media distribution system to reproduce (i.e.,
download) any of Plaintiff’s Works to distribute (i.e., upload) any of Plaintiff’s
Works or to make any of Plaintiff’s Works available for distribution to the
public, except pursuant to a lawful license or with Plaintiff’s express consent.

Defendant shall destroy all copies of Plaintiff’s Works that Defendant
has downloaded onto any computer hard drive or server and shall destroy all
copies of those downloaded Works transferred onto any physical medium or
device in Defendant’s possession, custody, or control.

Defendant shall hereby be enjoined from directly or indirectly
infringing upon the Trademarks, whether now in existence or later created, that

are owned or controlled by Plaintiff (or any parent, subsidiary, or affiliate of

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Plaintiff), including without limitation, except pursuant to a lawful license or
with Plaintiff’s express consent
(3) Statutory damages for infringement of Plaintiff’s copyrighted Works pursuant to
17 U.S.C, § 504 in an amount not less than $4,830,000 or if the Court finds Defendant’s acts
were willful in nature, justifying an award of up to $150,000 per infringement, not less than
$24,150,000.
(4) That Defendant be ordered to pay $500,000 in damages for his willful Trademark
infringement and dilution
(5) That Defendant be ordered to pay punitive damages in an amount the Court
deems just and proper.
(6) That Defendant pay to Plaintiff his reasonable attorney’s fees pursuant to 17
U.S.C. § 505 and 15 U.S.C. § 1117(a). _
(7) That Defendant pay Plaintiff the costs of this action; and,
(8) For such other and further relief, either at law or in equity, general or special, to

which Plaintiff may be entitled

DATED; october 16th 2013
Respectfully submitted
MILLER & STEIERT, P.C.

 

Michael P. Mille

Mollie B. Hawes

1901 W. Littleton Blvd.
Littleton, CO 80120

(303) 798-2525

(303) 7 98-2526 (facsimile)
mollieh@m»s-lawyers.com

Counsel for Plainti]j”]ames S. Grady

 

Plaintiff’s Address: J ames S. Grady
40 Littleton Bl, #210-220
Littleton, CO 80120

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